                 Case 23-11131-TMH             Doc 740-1       Filed 11/16/23       Page 1 of 2




                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


In re:                                                              Chapter 11

AMYRIS, INC., et al.,                                               Case No. 23-11131 (TMH)

                                  Debtors.                          (Jointly Administered)


             FORM 426 (RULE 2015.3) GENERAL NOTES FOR AUGUST 2023

              On August 9, 2023 (the “Original Petition Date”) certain of the Debtors (the “Original
    Debtors”1) filed voluntary petitions for relief under chapter 11 of the Bankruptcy Code with the
    Bankruptcy Court. On August 21, 2023 (the “Supplemental Petition Date” and, together with the
    Original Petition Date, as applicable, the “Petition Date”), certain of the Debtors (the “Additional
    Debtors”)2 filed voluntary petitions for relief under chapter 11 of the Bankruptcy Code with the
    Bankruptcy Court. The Debtors are operating their businesses and managing their property as
    debtors in possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. On August
    11, 2023, an order [Docket No. 50] was entered directing procedural consolidation and joint
    administration of the Original Debtors’ chapter 11 cases, and on August 23, 2023, an order
    [Docket No. 125] was entered directing procedural consolidation and joint administration of the
    Original Debtors’ chapter 11 cases with the Additional Debtors’ chapter 11 cases (collectively,
    the “Chapter 11 Cases”). Additional information about the Chapter 11 Cases, court filings, and
    claims     information      is   available     at     the    Debtors’      restructuring   website:
    https://cases.stretto.com/amyris/.

     1. General Methodology

         This periodic report (the “Periodic Report”) of the non-debtor subsidiaries of the Debtors (the
         “Non-Debtors”) has been prepared solely or the purpose of complying with Rule 2015.3 of
         the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”). The financial
         information contained herein is unaudited, limited in scope, and as such, has not been subject
         to procedures that would typically be applied to financial statements in accordance with
         accounting principles generally accepted in the United States of America (“U.S. GAAP”). The
         Form 426 should not be relied upon by any persons for information relating to current or future
         financial condition, events, or performance of any of the Non-Debtors or their affiliates, as the
         results of operations contained herein are not necessarily indicative of results which may be
         expected from any other period or for the full year, and may not necessarily reflect the
         combined results of operations, financial position, and schedule of receipts and disbursements

1
     The Original Debtors are Amyris, Inc., AB Technologies LLC, Amyris Clean Beauty, Inc., Amyris Fuels, LLC,
     Amyris-Olika, LLC, Aprinnova, LLC, Onda Beauty Inc., and Upland1 LLC.
2
     The Additional Debtors are Clean Beauty Collaborative, Inc., Clean Beauty 4U Holdings, LLC, and Clean Beauty
     4U LLC.
                                                   Page 1 of 2
          Case 23-11131-TMH           Doc 740-1       Filed 11/16/23      Page 2 of 2




   in the future. There can be no assurance that such information is complete, and the Form 426
   may be subject to revision. The following notes, statements, and limitations should be referred
   to, and referenced in connection with, any review of the Form 426.


2. Basis of Presentation


   The financial information contained herein is presented per the Amyris, Inc. books and
   records without, among other things, all adjustments or reclassifications that may be
   necessary or typical with respect to consolidating financial statements or in accordance with
   U.S. GAAP. In preparing the Periodic Report, the Debtors relied on financial data derived
   from their books and records that was available at the time of such preparation. Although the
   Debtors have made commercially reasonable efforts to ensure the accuracy and completeness
   of the Periodic Report, subsequent information or discovery may result in material changes
   to the Periodic Report. As a result, inadvertent errors or omissions may exist. For the
   avoidance of doubt, nothing contained herein shall constitutes a waiver of any rights of the
   Debtors, including the right to amend the information contained herein, and the Debtors
   hereby reserve all of their rights, including to amend and/or supplement the Periodic Report
   as may be necessary or appropriate.


3. Reservation of Rights


   Nothing contained in this Periodic Report shall constitute a waiver or admission by the
   Debtors in any respect nor shall this Periodic Report or any information set forth herein waive
   or release any of the Debtors’ rights or admission with respect to the Chapter 11 Cases, or
   their estates, including with respect to, among other things, matters involving objections to
   claims, substantive consolidation, equitable subordination, defenses, characterization or re-
   characterization of contracts, assumption or rejection of contracts under the provisions of
   chapter 3 of the Bankruptcy Code and/or causes of action under the provisions of chapter 5
   of the Bankruptcy Code or any other relevant applicable laws to recover assets or avoid
   transfers. The Debtors are reviewing the assets and liabilities of their affiliates on an ongoing
   basis, including, without limitation, with respect to intercompany claims and obligations, and
   nothing contained in this Periodic Report shall constitute a waiver of any of the Debtors’ or
   their affiliates’ rights with respect to such assets, liabilities, claims, and obligations that may
   exist.


4. Currency


   The amounts herein are presented in United States dollars, rounded to the nearest
   hundredth, unless otherwise stated.




                                           Page 2 of 2
